                            IN THE UNITED STATES DISTRICT COURT

                                        DISTRICT OF COLORADO

    JAY CONNOR, individually and on behalf                      Case No. 1:24-cv-02286
    of all others similarly situated,


                              Plaintiff,                        JURY TRIAL DEMANDED
              v.                                                CLASS ACTION

    SERVICEQUIK INC. d/b/a
    ZING BUSINESS MANAGEMENT
    SOFTWARE


                              Defendant.

                   PLAINTIFF’S FIRST AMENDED CLASS ACTION1 COMPLAINT

         Plaintiff Jay Connor (“Mr. Connor”), by his undersigned counsel, for this class action

complaint against Defendant ServiceQuik Inc., doing business as Zing Business Management

Software (“ServiceQuik”) as well as its present, former and future direct and indirect parent

companies, subsidiaries, affiliates, agents and related entities, alleges as follows:

                                             I.     INTRODUCTION

         1.          Nature of Action: “Telemarketing calls are intrusive. A great many people object

to these calls, which interfere with their lives, tie up their phone lines, and cause confusion and

disruption on phone records. Faced with growing public criticism of abusive telephone

marketing practices, Congress enacted the Telephone Consumer Protection Act of 1991. Pub. L.

No. 102-243, 105 Stat. 2394 (1991) (codified at 47 U.S.C. § 227). As Congress explained, the

law was a response to Americans ‘outraged over the proliferation of intrusive, nuisance calls to

their homes from telemarketers,’ id. § 2(6), and sought to strike a balance between


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 The Plaintiff’s previous complaint filed today erroneously omitted the Plaintiff’s class action allegations.
Accordingly, the Plaintiff files this Amended Complaint alleging the class action allegations.
‘[i]ndividuals’ privacy rights, public safety interests, and commercial freedoms,’ id. § 2(9).”

Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649 (4th Cir. 2019).

       2.      “The law opted for a consumer-driven process that would allow objecting

individuals to prevent unwanted calls to their homes. The result of the telemarketing regulations

was the national Do-Not-Call registry. See 47 C.F.R. § 64.1200(c)(2). Within the federal

government’s web of indecipherable acronyms and byzantine programs, the Do-Not-Call registry

stands out as a model of clarity. It means what it says. If a person wishes to no longer receive

telephone solicitations, he can add his number to the list. The TCPA then restricts the telephone

solicitations that can be made to that number. See id.; 16 C.F.R. § 310.4(b)(iii)(B) (‘It is an

abusive telemarketing act or practice and a violation of this Rule for a telemarketer to . . .

initiat[e] any outbound telephone call to a person when . . . [t]hat person’s telephone number is

on the “do-not-call” registry, maintained by the Commission.’)…Private suits can seek either

monetary or injunctive relief. Id.…This private cause of action is a straightforward provision

designed to achieve a straightforward result. Congress enacted the law to protect against

invasions of privacy that were harming people. The law empowers each person to protect his

own personal rights. Violations of the law are clear, as is the remedy. Put simply, the TCPA

affords relief to those persons who, despite efforts to avoid it, have suffered an intrusion upon

their domestic peace.” Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649-50 (4th Cir. 2019).

       3.      The Plaintiff also brings this action pursuant to the South Carolina Telephone

Privacy Protection Act (“SCTPPA”), S.C. Code § 37-21-10 et. seq.

       4.      Mr. Connor alleges that Defendant sent him multiple calls to a number listed on

the National Do Not Call Registry, which violates both the TCPA and the SCTPPA.




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        5.      The SCTPPA prohibits a company from making a call to a South Carolina

telephone number that had been registered on the Do Not Call Registry, as Mr. Connor’s was

prior to receiving the call.

                                          II.     PARTIES

        6.      Plaintiff Jay Connor resides in Charleston, South Carolina.

        7.      Defendant ServiceQuik Inc. is a Delaware corporation with its headquarters and

principal place of business in Colorado and which sells its services nationwide, including as it

attempted to do with Mr. Connor in South Carolina.

                               III.   JURISDICTION AND VENUE
        8.      Jurisdiction. This Court has federal-question subject matter jurisdiction over

Plaintiff’s TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal statute. 47

U.S.C. § 227; Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). The Court has

supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) because Plaintiff’s claim for violation

of the SCTPPA relates to the same telemarketing campaign as the TCPA claim.

        9.      Personal Jurisdiction: The Court has general personal jurisdiction over the

defendant because it is headquartered and has its principal place of business in Colorado.

        10.     Venue: Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)

because the Defendant resides in this District.

                                          IV.     FACTS
A.      The National Do Not Call Registry

        11.     The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. § 64.1200(c)(2).


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       12.     A listing on the Registry “must be honored indefinitely, or until the registration is

cancelled by the consumer or the telephone number is removed by the database administrator.”

Id.

       13.     The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers to the Registry and provides a private right of

action against any entity that makes those calls, or “on whose behalf” such calls are promoted.

47 U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).

       B.      The SCTPPA

       14.     On May 18, 2018, the State of South Carolina signed into law the South Carolina

Telephone Privacy Protection Act, S.C. Code § 37-21-10 et. seq.

       15.     The SCTPPA prohibits, inter alia, a party from initiating, or causing to initiate, a

telephone solicitation to a South Carolina telephone number that has been listed on the National

Do Not Call Registry. See S.C. Code § 37-21-70.

       16.     The SCTPPA also requires, at the outset of a telephone solicitation, that a

telephone solicitor shall provide, in a clear and conspicuous manner, a first and last name to

identify himself and provide the name of the person on whose behalf the telephone solicitation is

being made. See S.C. Code § 37-21-40.

       17.     The SCTPPA allows for aggrieved individuals to initiate an action and recover

$1,000 for each negligent violation and $5,000 for each willful violation of the SCTPPA. S.C.

Code § 37-21-80. The SCTPPA also provides for an award of attorneys’ fees and costs. Id.




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C.     Unsolicited Telemarketing to Plaintiff

       18.     Plaintiff Connor is, and at all times mentioned herein was, a “person” as defined

by 47 U.S.C. § 153(39).

       19.     Plaintiff’s residential telephone number is (843)-XXX-XXXX.

       20.     843 is a South Carolina area code.

       21.     Plaintiff placed the number on the National Do Not Call Registry in 2022.

       22.     The number is a residential telephone line because it is assigned to a wireless,

cellular telephone exchange service for consumers and is not assigned to a telephone exchange

service for businesses.

       23.     The number is in Mr. Connor’s name and he pays the bill.

       24.     Mr. Connor uses the number for personal, residential, and household reasons.

       25.     Mr. Connor does not use the number for business reasons and the number is not

registered in the name of a business.

       26.     Plaintiff Connor never consented to receive calls from Defendant.

       27.     Plaintiff Connor never did business with Zing Business Management Software.

       28.     Despite this, Plaintiff received two text messages from the telephone number 720-

927-8973 on February 23, 2024 at 18:41z.

       29.     The first message read, “Hi, this is Sally from Zing website design.

We're offering a fully built website for only $19/ month for businesses like

Arbor Craft Builders- no contrac”

       30.     The second message read, “t! Can I send you a sample of our work?

Reply "not interested" to opt out”


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       31.     The Defendant used a third-party text messaging platform named WooSender to

send the text messages.

       32.     The Defendant obtained the list of telephone numbers it contacted using this

illegal SMS text message campaign from an individual named Dara Komarac on Fiverr, a

website that sells goods and services for five dollars.

       33.     The numbers were never represented as having any consent to contact their

recipients.

       34.     WooSender allows persons sending text messages using its platform to scrub

against numbers on the National Do Not Call Registry for an extra fee.

       35.     However, the Defendant did not pay the fee and therefore did not scrub any of the

approximately 360,000 text messages it sent as part of this telemarketing campaign against the

Do Not Call Registry.

       36.     As evidenced through the plain text of the message, the message also did not

identify the sender by first and last name, nor did it identify the true, legal corporate identity of

“Zing website design.”

       37.     The text messages received by Plaintiff were sent for the purpose of encouraging

the purchase or rental of, or investment in, property, goods, or services as they seek to have him

purchase the Defendant’s website design services.

       38.     Under the TCPA, as confirmed by the Supreme Court, text messages are “calls”

for the purposes of the TCPA. Campbell-Ewald Co. v. Gomez, 577 U.S. 153, 153 (2016).

       39.     The calls were nonconsensual encounters.




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        40.     Indeed, as described, the Defendant had the opportunity to scrub the numbers it

sent the text messages to against cell phones included on the Do Not Call Registry, or

alternatively obtain prior express written consent to contact them, but did not.

        41.     Plaintiff never ever did business with the Defendant.

        42.     Plaintiff’s privacy has been violated by the above-described telemarketing

messages.

        43.     The aforementioned messages to the Plaintiff were unwanted.

        44.     Plaintiff and all members of the Class, defined below, have been harmed by the

acts of Defendant because their privacy has been violated and they were annoyed and harassed.

In addition, the calls occupied their storage space, network resources, bandwidth, and battery

life, rendering them unavailable for legitimate communication, including while driving, working,

and performing other critical tasks.


                               CLASS ACTION ALLEGATIONS

        45.     Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein.

        46.     Plaintiff brings this action on behalf of himself and the following classes (the

“Classes”) pursuant to Federal Rule of Civil Procedure 23.


                National DNC Class: All persons in the United States whose (1)
                telephone numbers were on the National Do Not Call Registry for
                at least 31 days, (2) but who received more than one telemarketing
                text message or call from or on behalf of Defendant encouraging the
                purchase of Defendant’s goods or services, (3) within a 12-month
                period (4) at any time in the period that begins four years before the
                date of filing this Complaint to trial.

                South Carolina TPPA Class: All persons in the United States who
                have (1) South Carolina telephone numbers, (2) on the National Do
                Not Call Registry and received a telemarketing text message or call

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               from or on behalf of Defendant (3) at any time in the period that
               begins four years before the date of filing this Complaint to trial.

       47.     Numerosity: The exact number of Class members is unknown but based on the en

masse nature of telemarketing is believed to be at least hundreds of persons at this time, and

individual joinder in this case is impracticable. Class members can be easily identified through

Defendant’s records, or those of their agents.

       48.     Typicality: Plaintiff’s claims are typical of the claims of other Class members in

that Plaintiff, and Class members, sustained damages arising out of Defendant’s telemarketing

calls and Class members sustained similar injuries and damages as a result of Defendant’s uniform

illegal conduct.

       49.     Adequacy: Plaintiff will fairly and adequately represent and protect the interests of

the Classes and has retained counsel competent and experienced in complex class actions to

vigorously prosecute this action on behalf of the Classes. Plaintiff has no interests that conflict

with, or are antagonistic to those of, the Classes, and Defendant has no defenses unique to Plaintiff.

       50.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and members of the Classes, and those questions predominate

over any questions that may affect individual members of the Classes. Common questions for the

Classes include, but are not necessarily limited to, the following:

       a.      Whether Defendant obtained “prior express invitation or permission” under the

TCPA, before the calls at issue;

       b.      Whether Defendant has established and implemented, with due care, reasonable

practices and procedures to effectively prevent telephone solicitations in violation of the TCPA’s

do-not-call regulations;



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       c.      Whether any telephone numbers were South Carolina telephone numbers, such as

to fit in the South Carolina TPPA Class;

       d.      Whether the Defendant sent telemarketing calls or text messages without providing

a first and last name;

       e.      Whether Defendant should be held liable for violations committed on its behalf, if

any; and

       f.      Damages, including whether any violations were performed willfully or knowingly,

such that Plaintiff and the other Class members are entitled to treble damages under 47 U.S.C. §

227(c)(5).

       51.     Superiority: Class action treatment is superior to the alternatives for the fair and

efficient adjudication of the controversy alleged herein. Such treatment will permit a large number

of similarly situated persons to prosecute their common claims in a single forum simultaneously,

efficiently, and without the duplication of effort and expense that numerous individual actions

would entail. There are hundreds of Class members in each Class, such that joinder of all members

is impracticable.

       52.     In addition to satisfying the prerequisites of FED. R. CIV. P. 23(a), Plaintiff satisfies

the requirements for maintaining a class action under FED. R. CIV. P. 23(b) because:

       a.      The prosecution of separate actions by the individual Class members would create

a risk of inconsistent or varying adjudication which would establish incompatible standards of

conduct for Defendant;

       b.      The prosecution of separate actions by individual Class members would create a

risk of adjudications with respect to them which would, as a practical matter, be dispositive of the




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interests of other Class members not parties to the adjudications, or substantially impair or impede

their ability to protect their interests;

        c.      Defendant has acted or refused to act on grounds that apply generally to the

proposed Classes, thereby making final injunctive relief or declaratory relief herein appropriate

with respect to the proposed Classes as a whole; and

        d.      Questions of law or fact common to the members of the Classes predominate over

any questions affecting only individual members, and that a class action is superior to other

available methods for the fair and efficient adjudication of the controversy.

                                   FIRST CAUSE OF ACTION
                                Telephone Consumer Protection Act
                                  Violations of 47 U.S.C. § 227(c)

        53.     Plaintiff repeats the prior allegations of this Complaint and incorporates them by

reference herein.

        54.     The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or

other persons or entities acting on Defendant’s behalf constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227, by making telemarketing calls, except for emergency

purposes, to the Plaintiff and the National DNC Class despite their numbers being on the

National Do Not Call Registry.

        55.     The Defendant’s violations were negligent, willful, or knowing.

        56.     As a result of Defendant’s and/or its affiliates, agents, and/or other persons or

entities acting on Defendant’s behalf violations of the TCPA, 47 U.S.C. § 227, Plaintiff and

members of the National DNC Class presumptively are entitled to an award of between $500 and

$1,500 in damages for each and every call made.




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       57.     Plaintiff and members of the Class are also entitled to and do seek injunctive

relief prohibiting Defendant from making telemarketing calls to numbers on the National Do Not

Call Registry, except for emergency purposes, in the future.


                                 SECOND CAUSE OF ACTION
                                               SCTPPA
       58.     Plaintiff repeats the prior allegations of this Complaint and incorporates them by

reference herein.

       59.     The SCTPPA prohibits, inter alia, a party from initiating, or causing to initiate, a

telephone solicitation to an area code of the state of South Carolina to a number that is registered

on the National Do Not Call Registry.

       60.     The SCTPPA allows for aggrieved individuals to initiate an action and recover

$1,000 for each negligent violation and $5,000 for each willful violation of the SCTPPA, as well

as attorneys’ fees and costs. S.C. Code § 37-21-80.

       61.     As a result of Defendant’s and/or its affiliates, agents, and/or other persons or

entities acting on Defendant’s behalf violations of the SCTPPA, Plaintiff and members of the

SCTPPA Class presumptively are entitled to an award of either $1,000 or $5,000 in damages for

each and every violation made, in addition to attorneys’ fees and costs.


                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

       A.      Certification of the Classes as alleged herein;

       B.      Appointment of Plaintiff as representative of the Classes;

       C.      Appointment of the undersigned as counsel for the Classes;

       D.      Attorneys’ fees and costs, as permitted by law;


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       E.      An order enjoining Defendant and/or its affiliates, agents, and/or other persons or

entities acting on Defendant’s behalf from making telemarketing calls to numbers using an

artificial or prerecorded voice, absent an emergency circumstance;

       F.      An award to Plaintiff of damages and members of the Classes, as allowed by law;

and

       G.      Orders granting such other and further relief as the Court deems necessary, just,

and proper.

                                   V.     DEMAND FOR JURY

       Plaintiff demands a trial by jury for all issues so triable.



       RESPECTFULLY SUBMITTED AND DATED this August 21, 2024.

                                               /s/ Andrew Roman Perrong
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